       Case 20-42258-mxm11 Doc 1 Filed 07/06/20                                          Entered 07/06/20 10:04:59                         Page 1 of 8


 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     M&K Rogers Investments, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      6      –      0      5        5    1         8   3     2

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       3517 S. Bowen Road                                              PO Box 13619
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Arlington                           TX       76016              Arlington                     TX       76094
                                       City                                State    ZIP Code           City                          State    ZIP Code


                                                                                                       Location of principal assets, if different
                                       Tarrant                                                         from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State    ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
       Case 20-42258-mxm11 Doc 1 Filed 07/06/20                                    Entered 07/06/20 10:04:59                     Page 2 of 8


Debtor M&K Rogers Investments, LLC                                                        Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             5      3      1      1

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
       Case 20-42258-mxm11 Doc 1 Filed 07/06/20                                       Entered 07/06/20 10:04:59                     Page 3 of 8


Debtor M&K Rogers Investments, LLC                                                        Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or                  No
    have possession of any                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                    needed.
    property that needs
                                                 Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                      related assets or other options).

                                                      Other


                                                 Where is the property?
                                                                               Number      Street




                                                                               City                                      State        ZIP Code

                                                 Is the property insured?

                                                      No
                                                      Yes. Insurance agency

                                                               Contact name

                                                               Phone




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
       Case 20-42258-mxm11 Doc 1 Filed 07/06/20                                    Entered 07/06/20 10:04:59                      Page 4 of 8


Debtor M&K Rogers Investments, LLC                                                       Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                     1-49                               1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                         50,001-100,000
                                            100-199                            10,001-25,000                        More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/06/2020
                                                      MM / DD / YYYY



                                          X /s/ J. Michael Rogers
                                              Signature of authorized representative of debtor
                                              J. Michael Rogers
                                              Printed name
                                              President
                                              Title




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
       Case 20-42258-mxm11 Doc 1 Filed 07/06/20                         Entered 07/06/20 10:04:59                  Page 5 of 8


Debtor M&K Rogers Investments, LLC                                         Case number (if known)

18. Signature of attorney      X /s/ Joyce Lindauer                                            Date   07/06/2020
                                     Signature of attorney for debtor                                 MM / DD / YYYY

                                     Joyce Lindauer
                                     Printed name
                                     Joyce W. Lindauer Attorney, PLLC
                                     Firm name
                                     1412 Main Street, Suite 500
                                     Number          Street



                                     Dallas                                            TX              75202
                                     City                                              State           ZIP Code


                                     (972) 503-4033                                    joyce@joycelindauer.com
                                     Contact phone                                     Email address
                                     21555700                                          TX
                                     Bar number                                        State




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 5
           Case 20-42258-mxm11 Doc 1 Filed 07/06/20                      Entered 07/06/20 10:04:59             Page 6 of 8


                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:    M&K Rogers Investments, LLC                                            CASE NO

                                                                                  CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/6/2020                                           Signature   /s/ J. Michael Rogers
                                                                    J. Michael Rogers
                                                                    President




Date                                                    Signature
Case 20-42258-mxm11 Doc 1 Filed 07/06/20   Entered 07/06/20 10:04:59   Page 7 of 8



                       Attorney General of Texas
                       Bankruptcy Div
                       PO Box 12548
                       Austin, TX 78711-2548


                       Burris Lawn and Landscape
                       PO Box 120399
                       Arlington, TX 760121



                       Comptroller of Public Accts
                       Revenue Acctg Div Bankruptcy Sec
                       PO Box 13528
                       Austin, TX 78711


                       Coy E. Garrett Development Corp.
                       1600 West Abrams Street
                       Arlington, TX 76013



                       Independent Bank
                       Attn: Mike Phillips, Exec. V.P.
                       Special Assets Manager
                       7777 Henneman Way
                       McKinney, TX 75070

                       Internal Revenue Service
                       Mail Code DAL-5020
                       1100 Commerce Street
                       Dallas, Texas 75242


                       Michael Gaubert
                       13355 Noel Road, Suite 1100
                       Dallas, TX 75240



                       Thomas Gaubert
                       Wildwood Group of Companies
                       1130 N. Westmoreland Road
                       DeSoto, TX 75115


                       U. S. Trustee's Office
                       1100 Commerce Street
                       Room 9C60
                       Dallas, TX 75242
Case 20-42258-mxm11 Doc 1 Filed 07/06/20   Entered 07/06/20 10:04:59   Page 8 of 8



                       US Attny. General
                       10th and Constitution Ave.,NW
                       Main Justice Bldg. Rm. 5111
                       Washington, DC 20530
